Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 1 of 11



                       Exhibit 1
                    Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 2 of INDEX
                                                                             11                               NO. 653254/2019
[FILED: NEW YORK COUNTY CLERK 06/03/2019                                  03: 07 PMJ
NYSCEF DOC. NO. 1                                                                                RECEIVED NYSCEF: 06/03/2019




                     SUPREME COURT OF THE STATE OF NEW YORK
                     COUNTY OF NEW YORK

                     In the Matter of the Arbitration between

                     TEACHERS COLLEGE, COLUMBIA UNNERSITY,
                                                                                            I
                                                                                 Petitioner!     VERIFIE D PETITION
                                                                                            ·       TO VACATE
                    For Judgment Pursuant to Article 75 of the CPLR                         I   ARBITRATION AWARD

                                                   - against -                                   Index No.:        _

                    LOCAL 2110, TECHNICAL, OFFICE AND
                    PROFESSIONAL UNION, UNITED AUTO WORKERS,
                    AFL-CIO,

                                                                               Respondent.,



                                Petitioner, Teachers College, Columbia University ("College" or "Petitioner"),

                    for its Petition in this special proceeding, alleges as follows:

                                                                 The Parties

                                1.      Petitioner is a graduate school of education, health and psychology

                    located at 525 West 120th Street, New York, NY.

                                2.      Respondent, Local 2110, United Auto Workers, AFL-CIO ("Union" or

                    "Respondent") is a labor union located at 256 W. 38th Street, Suite 704, New York,

                    NY.

                                                           Background Facts

                                3.      Petitioner and Respondent are parties to a collective bargaining

                    agreement ("CBA") in effect from March 1, 2007 to February 29, 2012

                    ("Agreement"), which was extended by two subsequent Memoranda of Agreement

                    (''MOAs") covering periods from March 1, 2012 to February 28, 2015 and from



                    4832-8812-4568. I


                                                           1 of 10
                    Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 3 of INDEX
                                                                             11                              NO.   653254/2019
[FILED: NEW YORK COUNTY CLERK 06/03/2019                                 03: 07 PM!
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 06/03/2019




                     March 1, 2015 to February 28, 2018. Other than a minor change to the Grievance and

                     Arbitration Procedure (Article XIII), the changes to the Agreement set forth in the

                     MO As do not alter any of the contractual provisions at issue here. A copy of the

                     Agreement is attached as Exhibit A; and a copy of the MOAs are attached as Exhibit

                     B and Exhibit C, respectively.

                                                   Relevant Contractual Provisions

                                 4.     Article XII ("Overtime") states as follows:

                     1. Each employee shall receive compensatory time off at the rate of time and one half
                     for all time actually worked after thirty-five and through the fortieth working hours per
                     week. For all time worked in excess of forty hours per week each employee shall be
                     paid at the rate of time and one half. When compensatory time is desired and so
                     indicated on the time sheet, the employee has two subsequent pay periods for
                     scheduling and use of the compensatory time. At the end of the second pay period any
                     hours not used are paid.

                    2. For purposes of computing overtime pay, the following absences for which
                    compensation is paid shall be deemed time worked: Jury Duty, Sick Leave, Holidays
                    and Vacation Time, and Compensatory Time Off.

                    3. Overtime shall not be pyramided and in no event shall overtime be performed
                    unless approved by the employee's authorized supervisor.

                    4. Overtime requirements shall be clearly stated in advance and adhered to except in
                    emergencies.

                    5. Holiday work, see holidays.


                                5.      Article XVIII ("Work Week"), states, in relevant part, as follows:

                    1. Except as noted below, the regular work week for each full-time employee shall
                    consist of seven (7) working hours per day for five (5) consecutive days. The work
                    week begins on Monday and ends on Sunday.

                                6.      Article XIII ("Grievance and Arbitration Procedures") states, in

                    relevant part, as follows:




                                                                  -2-
                    4832-8812-4568. I



                                                          2   of 10
                    Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 4 of INDEX
                                                                             11                           NO.   653254/2019
[FILED:   NEW YORK COUNTY CLERK 06/03/2019                               03: 07 PM]
NYSCEF DOC. NO. 1                                                                         RECEIVED NYSCEF:        06/03/2019




                     2. a) If any dispute arises concerning the application, interpretation, effect, purpose or
                     breach of any term or condition of this Agreement, the parties shall attempt to settle
                     and adjust the dispute in accordance with the following procedures:

                     STEP I. The grievance shall be presented orally or in writing by an authorized Local
                     2110 representative to the grievant's immediate supervisor within a reasonable time.
                     The grievant may be present at such time. The grievant's supervisor shall respond to
                     the grievance orally or in writing within ten (10) working days from the day of its
                     original presentation (response must be written if the grievance is in writing). If the
                     grievance is not satisfactorily settled or withdrawn at Step 1, it shall immediately be
                     subject to the provisions of Step 2.



                    STEP 4. If the grievance has not been satisfactorily settled or withdrawn as a result of
                    Steps 1, 2, and 3, within fifteen (15) working days after receipt of the answer required
                    by Step 3, unless the parties otherwise agree, either party may submit all or part of
                    such grievance to arbitration [before the American Arbitration Association See MOA
                    regarding arbitration panel]. Failure to file for arbitration within fifteen (15) days
                    shall not preclude either party from a late filing. The arbitrator shall have the full
                    authority to issue an award in a written opinion and make such other ruling as the
                    arbitrator, in his or her sole discretion, shall determine. The arbitrator shall have no
                    power to add to, subtract from, modify, alter or amend in any way any of the terms of
                    this Agreement. It is the intent of the parties that all unresolved disputes between
                    them, concerning the application, interpretation, effect, purpose or breach of any term
                    or condition of this Agreement may be submitted to arbitration, but that only the
                    parties shall have the authority to compel arbitration of any unresolved grievance. The
                    expense of arbitration shall be borne equally by the College and Local 2110. The
                    award of the arbitrator shall be final, conclusive and binding on the College, Local
                    2110 and the employees.



                                                        Nature of the Dispute

                                7.      The dispute at issue was submitted to Arbitrator Ralph S. Berger, who

                    conducted hearings on December 11, 2015 and April 20, 2016.

                                8.      On July 28, 2016, Arbitrator Berger issued an Opinion and Award

                    ("First Award"), which is attached as Exhibit D.




                                                                  -3 -
                    4832-8812-4568. I



                                                          3   of 10
                    Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 5 of 11
[FILED:   NEW YORK COUNTY CLERK O 6/03/2019                             0 3: 07 PM!                INDEX NO.   653254/2019
NYSCEF DOC. NO. 1                                                                          RECEIVED NYSCEF: 06/03/2019




                                 9.      In the First Award, the Arbitrator determined the issue to be:

                     "Whether the Employer violated the [CBAJ by refusing to deem certain paid absences,

                     including the absences set forth in Article XII, Section 2, as time worked for purposes

                     of computing compensatory time after the 35th and through the 40th working hour in a

                     week? If so, what shall be the remedy?" (First Award, p. 2).

                                 10.    In the First Award, the Arbitrator found as follows: "[T]he

                     undersigned finds that the record evidence establishes that there has been a

                     longstanding, consistent practice of deeming paid time off to be time worked/or

                     purposes of calculating the 35-hour threshold necessary to receive time and one-half

                     for hours worked over 35 through 40 hours in a work week. Thus, hours recorded as

                     'Jury Duty, Sick Leave, Holidays and Vacation Time, and Compensatory Time Off,'

                     during the first 35 hours of the work week, have been counted towards the threshold

                    · required to receive compensatory time off or pay at a rate of time and one half after

                     the 35th and through the 40th hours in a work week." (First Award, p. 23) (emphasis

                     added).

                                 11.    In the First Award, the Arbitrator also found as follows: "While the

                     undersigned recognizes that [the employee's] use of daily overtime to calculate hours

                     is an improper method ofrecording time, the evidence reflects that the College

                     accepted paid time off in lieu of 'hours actually worked' to reach the 35-hour

                     threshold." (First Award, p. 25) (emphasis added).

                                12.     The Arbitrator awarded the following relief: "[The College] shall

                    revert to the longstanding practice described in the Opinion accompanying this Award




                                                                  -4-
                    4832-8812-4568. I



                                                          4   of 10
                    Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 6 of INDEX
                                                                              11                              NO.   653254/2019
[FILED:   NEW YORK COUNTY CLERK 06/03/2019                                   03: 07 PMI
NYSCEF DOC. NO. 1                                                                             RECEIVED NYSCEF:       06/03/2019




                     regarding the application of compensatory time and make whole any Union members

                     who were denied overtime earnings as a result of the referenced violation." (Id. at 27).

                                  13.    By letter dated August 5, 2016, the College asked the Arbitrator to

                     confirm its understanding of the clear and unambiguous meaning of the Award, by

                     providing an example calculation, in an effort to expedite the disbursement of back

                     pay to employees. A copy of the College's letter to the Arbitrator dated August 5,

                     2016, is attached as Exhibit E.

                                  14.    In response, the Union sent a letter to the Arbitrator objecting to his

                     issuing any clarification of the First Award and disagreeing with the College's

                    example calculation, and asserting that the "first 35 hours of the week" should be

                    interpreted to mean the employee's regular work schedule, including use of PTO.

                                 15.     By email dated September 10, 2016, the Arbitrator responded to the

                    parties' letters and informed them that he was "currently functus officio" and declined

                    to resolve the issues presented in their respective letters. A copy of the Arbitrator's

                    email dated September 10, 2016, is attached as Exhibit F.

                                 16.     Given that the Union's objection had blocked the College's efforts to

                    obtain a clarification of the First Award from the Arbitrator so that it could

                    expeditiously issue payments to employees, College proceeded and issued payments to

                    employees consistent with its understanding of the First Award.

                                 17.     On April 27, 2017, the Union petitioned the United States District

                    Court for the Southern District of New York (Civil Action No. l 7-cv-3095) to confirm

                    and enforce the Union's differing interpretation of the First Award.

                                 18.     The College filed its Answer on May 19, 2017.




                                                                      -5 -
                    4832-88 I 2-4568.1



                                                            5   of   10
                    Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 7 of INDEX
                                                                              11                         NO. 653254/2019
[FILED:   NEW YORK           COUN TY      CLERK      06/03/2019         03: 07    PM]
NYSCEF DOC. NO. 1                                                                         RECEIVED NYSCEF: 06/03/2019




                                 19.    After multiple rounds of motion practice addressing whether the Award

                     should be confirmed and what the First Award meant for purposes of enforcing it, on

                     February 19, 2019, the Honorable William H. Pauley III, U.S.D.J. issued a

                    Memorandum and Order (the "Order") which denied the union's petition to confirm

                    the Award and held that "[t]his matter is remanded to the arbitrator, who shall clarify

                    the ambiguities in the Award discussed in this [Order]." A copy of the Order dated

                    February 19, 2019, is attached as Exhibit G.

                                20.     In the Order, Judge Pauley concluded: "It is unclear which patty's

                    interpretation of the A ward is correct because nothing in the Award defines whether

                    the 'first 35 hours' of a work week are the first 35 hours actually worked or merely the

                    standard Monday through Friday schedule." (Ex. G, at page 8)

                                21.     Unfortunately, Judge Pauley's Order did not accurately capture the

                    differences in the parties' interpretations of the First Award. While the parties had

                    briefed the issue multiple times in the federal court action, the College had never taken

                    the position that Arbitrator Berger's First Award meant that the '"first 35 hours' of a

                    work week are the first 35 hours actually worked." To the contrary, the issue before

                    Judge Pauley was whether the "first 35 hours of the work week" referenced in the First

                    Award as the threshold (for premium pay for hours actually worked from 35 to 40),

                    meant the threshold was met upon reaching the "first 35" sequential hours of the work

                    week (whether actually worked or using certain types of PTO under the First Award),

                    or using a non-sequential method in which the "regular work week" of seven (7) hours

                    a day from Monday through Friday was itself the threshold (whether actually worked

                    or using certain types of PTO under the First Award).




                                                                  -6-
                    4832-8812-4568. I



                                                          6   of 10
                      Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 8 of 11
[FILED:   NEW YORK COUN TY CLERK                       06/03/2019          03: 07    PM!              INDEX NO.   653254/2019
NYSCEF DOC. NO.   1                                                                           RECEIVED NYSCEF: 06/03/2019




                                                    The Arbitrator's Clarified Award

                                   22.    By letter dated February 22, 2019, the College notified Arbitrator

                       Berger of Judge Pauley's Order, enclosed a copy, and requested a conference call with

                       both parties to discuss next steps in clarifying the Award. A copy of the College's

                       letter dated February 22, 2019, is attached as Exhibit H.

                                  23.     Arbitrator Berger declined to schedule a conference call. Upon

                       information and belief, neither party communicated with Arbitrator Berger after the

                      February 22, 2019 letter or submitted any information to Arbitrator Berger relating to

                      the patties' dispute or their positions.

                                  24.     On March 4, 2019, Arbitrator Berger issued a second award ("Clarified

                      Award"), concluding as follows:

                                                          CLARIFIED AWARD:

                                  My Award of July 28, 2016 is hereby clarified so that it is understood
                                  that "the first 35 hours of the work week" refers to the first 35 hours in
                                  a standard 9 a.m. to 5 p.m. Monday through Friday work week that an
                                  employee has been scheduled to work. In accordance with the parties'
                                  practice, an employee may use paid time off ( or personal days or
                                  summer Fridays) to reach the 35-hour threshold. Thereafter, the
                                  employee is entitled to receive compensatory time off or pay at the rate
                                  of time and one-half after the 35th and through the 40th hour of the
                                  employee's scheduled work week.

                      A copy of the Clarified Award is attached as Exhibit I (emphasis added).

                                  25.     Article XII ("Overtime") of the parties' CBA refers to a premium rate

                      being paid for "all time actually worked after thirty-five and through the fortieth

                      working hours per week." (Ex. A) (emphasis added). This is plainly a weekly

                      overtime calculation that is based on sequential hours.




                                                                     -7-
                      4832-8812-4568. I



                                                             7   of 10
                      Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 9 of INDEX
                                                                                11                           NO.   653254/2019
[FILED:   NEW YORK COUNTY CLERK 06/03/2019                                 03: 07 PM!
NYSCEF DOC. NO.   1                                                                           RECEIVED NYSCEF: 06/03/2019




                                    26.    Nothing in Article XII refers to the "regular work week" or the

                       "employee's scheduled work week."

                                    27.    Article XII does not impose a daily overtime requirement for hours

                       above seven (7) in a day.

                                   28.     The CBA's grievance and arbitration procedure expressly limited the

                       Arbitrator's authority as follows: "The arbitrator shall have no power to add to,

                       subtract from, modify, alter or amend in any way any of the terms of this Agreement."

                       (Ex. A).

                                   29.     The Clarified Award rewrote the plain terms of the parties' CBA and

                       imposed an irrational result.

                                   30.     The CPLR provides that an award "shall be vacated" when the

                      arbitrator exceeds his power. See CPLR § 7511 (b )(1 )(iii). The Arbitrator's Clarified

                      Award must be vacated because the Arbitrator exceeded his limited authority by (a)

                      rewriting the plain terms of the parties' CBA, which refer to a premium rate being

                      paid for hours actually worked "after thirty five and through the fortieth working hours

                      per week"; and (b) irrationally imposing what virtually amounts to a "daily overtime"

                      requirement (with extremely limited exemptions), despite having recognized and

                      concluded in the First Award that "[the employee's] use of daily overtime to calculate

                      hours is an improper method of recording time." These fundamental defects in the

                      Award constitute grounds for this Court to vacate the Clarified Award pursuant to

                      CPLR § 7511.




                                                                     -8-
                      4832-88 I 2-4568.1



                                                             8   of 10
                Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 10 ofINDEX
                                                                          11                            NO.   653254/2019
[FILED:   NEW YORK COUN TY CLERK                  06/03/2019           03: 07    PMI
NYSCEF DOC. NO. 1                                                                        RECEIVED NYSCEF: 06/03/2019




                     Dated: June 3, 2019
                            Jericho, New York

                                                                     NIXON PEABODY LLP


                                                                     By: Isl Tara E. Daub
                                                                              Tara E. Daub
                                                                     50 Jericho Quadrangle, Suite 300
                                                                     Jericho, New York I I 530
                                                                     (516) 832-7500
                                                                     tdaub@nixonpeabody.com

                                                                   Attorneys for Petitioner
                                                                   Teachers College, Columbia University



                    TO:         Local 2110, United Auto Workers, AFL-CIO
                                256 W. 38th Street, Suite 704
                                New York, NY 10018




                                                               -9-
                    4832-8812-4568. I



                                                       9   of 10
                      Case 1:19-cv-06021 Document 1-1 Filed 06/27/19 Page 11 ofINDEX
                                                                                11                        NO.   653254/2019
[FILED:   NEW YORK COUNTY CLERK 06/03/2019                            03: 07 PM!
NYSCEF DOC. NO.   1                                                                       RECEIVED NYSCEF: 06/03/2019




                                                           VERIFICATION


                  ST A TE OF NEW YORK            )
                                                 ) ss.:
                  COUNTY OF NASSAU               )

                           TARA E. DAUB, ESQ., an attorney duly licensed to practice in the State of New

                  York, affirms that the following statements are true under penalty of perjury:

                           I.     I am an attorney of record for petitioner Teachers College, Columbia

                  University ("College" or "Petitioner"), in the within action. I have read the foregoing

                  Verified Petition to Vacate Arbitration Award, know the contents thereof, and that the same

                  are true to my knowledge, except as to the matters therein stated to be based upon

                  information and belief, and that those matters I believe to be true.

                          2.      I make this verification because Petitioner in this action neither resides nor

                  maintains its principal place of business in the county wherein I maintain an office.

                           3.     The grounds for my belief as to all matters not stated upon my own

                  knowledge are office records and my general investigation into the facts of this case.

                  Dated: June 3, 2019


                                                                     ~Esq.




                                                          10 of 10
